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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS

QUALITY KING DISTRIBUTERS, INC,                                 )
                                                                )
                                   Plaintiff,                   )
                                                                )
        vs.                                                     )        Court No.     20 CV 2145
                                                                )
CELTIC INTERNATIONAL, LLC,                                      )
                                                                )
                                   Defendant.                   )

         DEFENDANT’S MOTION TO DISMISS PURSUANT TO RULE 12(b)(§6)

        Now Comes Defendant, CELTIC INTERNATIONAL, LLC, by its attorneys, ORLEANS

CANTY NOVY, LLC, and for its Rule 12(b)(6) Motion to Dismiss, states as follows:

                                        I.       INTRODUCTION

        Plaintiff, QUALITY KING DISTRIBUTERS, INC (“Plaintiff”) filed a Complaint for

Damages in the State of Illinois, Circuit Court of Cook County, against Defendant, CELTIC

INTERNATIONAL, LLC (“CELTIC”) arising from alleged missing cargo transported by motor

carrier in interstate commerce1. (A copy of Plaintiff’s Complaint is attached as Exhibit 1,

including Group Exhibits A and B to the Complaint). Subsequent to appearing and demanding

trial by jury, on April 6, 2020, CELTIC removed this action to the United States District Court,

Northern District of Illinois, pursuant to 28 USC § 1441, § 1446, § 1445(b), and 49 U.S.C. §

14501(c)(1). (See, Document #5).

        Specifically, because Plaintiff’s apparent cause of action arises from damages arising

from the transportation of cargo in interstate commerce, the case is governed exclusively by the

Federal Carmack Amendment to the Interstate Commerce Commission Act. 49 U.S.C. § 14706

1 It appears that Plaintiff is claiming losses of multiple shipments (referenced as Group Exhibits A and B) in its
Complaint. Thus, CELTIC references the shipments as “Group Exhibit A” and “Group Exhibit B” in this Motion as
identified in Plaintiff’s Complaint.
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(“Carmack Amendment”).        Indeed, Plaintiff’s claims for liability against the CELTIC, the

available damages, and Defendant’s defenses are governed exclusively by the Carmack

Amendment and all other State or common law causes of action are preempted. See, Adams

Express Co. v. Croninger, 226 U.S. 491 (1913); Hughes v. United Van Lines, Inc., 829 F.2d

1407, 1412 (7th Cir. 1987). Therefore, Plaintiff’s Complaint, which only pleads common law

claims premised in breach of contract, fails to state a cause of action and must be dismissed.

       Alternatively, even if Plaintiff’s Complaint is construed as appropriately pleading its

Carmack claims, the action fails to state a cause of action against CELTIC, a freight broker, and

not a motor carrier. To be sure, the Carmack Amendment applies to a shipper’s claim against a

motor carrier, not a freight broker. In this instance, Plaintiff alleges that CELTIC brokered the

alleged missing freight to a motor carrier, GSN Trucking. Indeed, the multiple Bills of Lading

attached to Plaintiff’s Complaint specifically identify GSN Trucking as the motor carrier.

Accordingly, Plaintiff cannot state a claim against CELTIC under the Carmack Amendment and

its Complaint should be dismissed with prejudice as to CELTIC.

                               II.     STANDARD OF REVIEW

       Rule 12(b)(6) permits a motion to dismiss a complaint for failure to state a claim upon

which relief can be granted. To state a claim, the complaint need only contain a “short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Rule

12(b)(6) provides that:

               every defense to a claim for relief in any pleading must be asserted in the
               responsive pleading if one is required. But a party may assert the
               following defenses by motion:
               **
               (6) failure to state a claim upon which relief can be granted.
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Fed R. Civ. P. 12(b)(6).     At most, Plaintiff’s case may only be construed as a Carmack

Amendment claim. Accordingly, it must only be pled as such and seek damages allowable under

the Carmack Amendment and authoritative case law. Moreover, once confined to the Carmack

Amendment, Plaintiff cannot state a claim upon which relief can be granted against this

Defendant, freight broker.

                                     III.   ARGUMENT

A.     The Carmack Amendment provides the exclusive cause of action for Plaintiff’s
       claim for loss due to the shipment of the cargo in interstate commerce and preempts
       Plaintiff’s common law breach of contract claims.

       The Carmack Amendment preempts all the claims pled by the Plaintiff. The Plaintiff’s

Complaint consists of two counts of Breach of Contract. Neither Count states a claim upon

which relief can be granted under the Carmack Amendment.

       The Carmack Amendment provides that:

              (1)…A carrier providing transportation or service…shall issue a receipt or
              bill of lading for property it receives for transportation….That carrier and
              any other carrier that delivers the property and is providing transportation
              or service…are liable to the person entitled to recover under the receipt or
              bill of lading. The liability imposed under this paragraph is for the actual
              loss or injury to the property caused by (A) the receiving carrier, (B) the
              delivering carrier, or (C) another carrier over whose line or route the
              property is transported….

49 U.S.C. § 14706(1) (emphasis added). The Carmack Amendment completely preempts all

common law theories and remedies arising out of loss or damage to an interstate shipment of

goods. Hughes, 829 F.2d at 1412. Indeed, the Supreme Court has held that the Carmack

Amendment broadly preempts State law claims arising from the transportation of goods in

interstate commerce. See, Adams Express, 226 U.S. at 505-506 (declaring that the Carmack

Amendment “embraces the subject of the liability of the carrier” and that “almost every detail of

the subject is covered so completely that there can be no rational doubt but that Congress
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intended to take possession of the subject, and supersede all state regulation with reference to

it.”).

           Additionally, Congress has demonstrated its complete dominion over the subject of

interstate transportation of goods through the Interstate Commerce Commission Termination Act

(“ICCTA”), which state that “a state may not enact or enforce a law, regulation, or other

provision having the force and effect of law related to a price, route or service of any motor

carrier.” 49 U.S.C. § 14501(c)(1). The Supreme Court has interpreted ICCTA preemption

broadly as well. See, Rowe v. N.H. Motor Transp. Ass’n, 522 U.S. 364, 367 (2008).

           Because Plaintiff’s claims are premised in common law, the Complaint is completely

preempted and must be dismissed. Plaintiff’s Complaint arises from requests in March and April

2016 by Plaintiff of CELTIC to transport cargo in interstate commerce. (Ex. 1, ⁋⁋ 4, 18). It is

further alleged that the shipments were tendered to a motor carrier, GSN Transport, and that no

all the product was delivered. (Ex. 1, ⁋⁋ 5, 7, 19, 21). These allegations demonstrate that

Plaintiff’s Complaint arises from a claim for losses to cargo transported interstate by motor

carrier, GSN Transport. Accordingly, Plaintiff’s theory of liability and remedy lies exclusively

under the Carmack Amendment. The claims for breach of contract are preempted and must be

dismissed because each of these claims arise from the subject of the interstate transportation of

the cargo. Therefore, CELTIC’s Motion to Dismiss must be granted.

B.         Applying the Carmack Amendment, Plaintiff’s claims must also be dismissed
           because Celtic is a freight broker, to which the Carmack does not apply.

           The Carmack Amendment to the Interstate Commerce Act provides shippers with the

right to recover for losses caused by motor carriers. See 49 U.S.C. § 14706; Allied Tube &

Conduit Corp. v. S. Pac. Transp. Co., 211 F.3d 367, 369 (7th Cir. 2000). A motor carrier is

defined as “a person providing motor vehicle transportation for compensation.” 49 U.S.C. §
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13102 (14). The Carmack Amendment does not govern persons who serve as brokers rather than

carriers. See Lumbermens Mut. Cas. Co. v. GES Exposition Serv., Inc., 303 F. Supp. 2d 920, 921

(N.D. Ill. 2003)(emphasis added). A broker is defined as “a person, other than a motor

carrier…that as a principal or agent sells, offers for sale, negotiates for, or holds itself out by

solicitation, advertisement, or otherwise as selling, providing, or arranging for, transportation by

motor carrier for compensation.” 49 U.S.C. § 13102(2) (2008). The Code of Federal Regulations

further distinguishes carriers from brokers, and states that “motor carriers…are not brokers

within the meaning of this section when they arrange or offer to arrange the transportation of

shipments which they are authorized to transport and which they have accepted and legally

bound themselves to transport.” 49 C.F.R. § 371.2(a).

       Courts have enforced the language in the Carmack amendment in that it does not apply to

freight brokers. Indeed, this Court has specifically held that “the Carmack Amendment applies to

carriers and freight forwarders but not to brokers.” Mach Mold Inc. v. Clover Assocs., 383 F.

Supp. 2d 1015, 1029 (N.D. Ill. August 17, 2005); see also Dabecca Natural Foods, Inc. v. RD

Trucking, LLC, 2015 U.S. Dist. LEXIS 65680 (N.D. Ill. May 20, 2015); Infinity Air, Inc. v. Echo

Global Logistics, Inc., No. 2013 U.S. Dist. LEXIS 87540, at *2 (D. Or. June 20, 2013)

       CELTIC is entitled to dismissal of Plaintiff’s claims premised in the Carmack

Amendment because Plaintiff does not plead any facts demonstrating, or otherwise reasonably

inferring, that CELTIC acted as a carrier for the subject loads of lost cargo. In addition, CELTIC

is registered as a licensed freight broker by the Federal Motor Carrier Safety Administration.

(See CELTIC broker Registration Information on file with the Federal Motor Carrier Safety

Administration attached as Exhibit 2).
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       Plaintiff specifically pleads that CELTIC retained GSN Trucking to haul the loads from

their points of origin to destination. (Exhibit 1, ⁋⁋ 5, 19). Further, the two “Bill of Lading

Delivery Receipts” (Pages 44 and 45 of Exhibit 1) attached as part of Plaintiff’s Group Exhibit

A, identify the carrier as GSN Trucking. Plaintiff’s own delivery invoices (Pages 18-21 of

Exhibit 1) attached a part of Plaintiff’s Group Exhibit A, also identify GSN Trucking as the

carrier for the shipments.

       As for Plaintiff’s Group Exhibit B to its Complaint, Plaintiff’s own delivery invoices

(Pages 48-49 of Exhibit 1), identify GSN Trucking as the carrier for the shipments. Further, the

two “Bill of Lading Delivery Receipts” (Pages 55 and 56 of Exhibit 1) attached as part of

Plaintiff’s Group Exhibit B, also identify the carrier as GSN Trucking.

       Moreover, the Carmack Amendment provides that:

               (1)…A carrier providing transportation or service…shall issue a receipt or
               bill of lading for property it receives for transportation….

49 U.S.C. § 14706(1)(emphasis added).

       The Bills of Lading identified above and that are included in Plaintiff’s Group Exhibits A

and B to its Complaint, appear to have been issued by Calling All Ships LLC and ARL Network.

None of the Bills of Lading indicate that they were issued by CALTIC. Moreover, CELTIC is

not identified as the carrier on any Bill of Lading or other documents. Therefore, CELTIC’s

Motion to Dismiss must be granted.

                                     IV.    CONCLUSION

       Plaintiff’s claims are specifically governed by the Carmack Amendment, and thus, the

breach of contract claims must be dismissed. Moreover, Plaintiff cannot state a claim against

CELTIC under the Carmack Amendment because it is a freight broker, over whom the Carmack
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Amendment does not apply. Accordingly, Plaintiff’s Complaint at Law must be dismissed with

prejudice.

       Dated this 8th day of May 2020.

                                         CELTIC INTERNATIONAL, LLC, Defendant

                                         By:    /s/ Jason Orleans
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